                                                                                                                               ELECTRONICALLY SERVED
                                                                                               Case 2:20-cv-01871-RFB-NJK 9/7/2020
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                                                                                          10

                                                                                          11                                EIGHTH JUDICIAL DISTRICT COURT

                                                                                          12                                        CLARK COUNTY, NEVADA
                                                 Suite 1500, 3800 Howard Hughes Parkway




                                                                                          13   CIARA WILLIAMS,                                            Case No.: A-18-784031-C
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                                                           Las Vegas, NV 89169
                                                            Wells Fargo Tower




                                                                                                                                                          Dept. No.: IV
                                                                                          14                           Plaintiff,
                                                                                          15   vs.                                                          ORDER GRANTING PLAINTIFF’S
                                                                                          16                                                                MOTION TO AMEND COMPLAINT
                                                                                               SILVINO HINOJOSA, AND TOPGOLF USA
                                                                                          17   LAS VEGAS, LLC, DOES 1 through X,
                                                                                               inclusive AND ROES through X, inclusive,
                                                                                          18
                                                                                                                       Defendants.
                                                                                          19

                                                                                          20
                                                                                                      Plaintiff’s Motion to Amend Complaint (“Motion”) having come on before the Court for an
                                                                                          21
                                                                                               in camera hearing, Defendant TopGolf USA Las Vegas, LLC’s Notice of Non-Opposition to
                                                                                          22
                                                                                               Plaintiff’s Motion to Amend Complaint thereto having been filed pursuant to EDCR 2.20(e), and a
                                                                                          23
                                                                                               Minute Order having been issued granting the Motion and directing Counsel to prepare the Order,
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                                                                                               good cause appearing,
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                                                                                                                                    Case Number: A-18-784031-C
                                                                                               Case 2:20-cv-01871-RFB-NJK Document 14-12 Filed 11/06/20 Page 2 of 3




                                                                                           1          IT IS HEREBY ORDERED that Plaintiff’s Motion to Amend Complaint is hereby

                                                                                           2   GRANTED.

                                                                                           3          IT IS FURTHER ORDERED that the Amended Complaint be filed or deemed filed within
                                                                                               ten             notice of entry
                                                                                           4   five days of the execution of this Order.

                                                                                           5          DATED this ______ day of August, 2020.

                                                                                           6

                                                                                           7                                               _________________________________________
                                                                                                                                           DISTRICT COURT JUDGE
                                                                                           8

                                                                                           9   Respectfully submitted by:
                                                                                          10
                                                                                               OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.




                                                                                          11

                                                                                          12    /s/ Suzanne Martin
                                                 Suite 1500, 3800 Howard Hughes Parkway




                                                                                               Suzanne Martin, Nevada Bar No. 8833
                                                                                          13   Erica J. Chee, Nevada Bar No. 12238
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                                                                                               Las Vegas, Nevada 89169
                                                                                          15   Attorneys for Defendant TopGolf USA Las Vegas, LLC

                                                                                          16

                                                                                          17   Approved as to form and content:
                                                                                          18   LEGAL OFFICES OF JAMES J. LEE
                                                                                          19
                                                                                                refused to sign
                                                                                          20
                                                                                               James J. Lee
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                                                                                               Attorney for Plaintiff
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      Case 2:20-cv-01871-RFB-NJK Document 14-12 Filed 11/06/20 Page 3 of 3



 1
     CSERV
 2
                                        DISTRICT COURT
 3                                   CLARK COUNTY, NEVADA
 4

 5

 6       Ciara Williams, Plaintiff(s)         CASE NO: A-18-784031-C

 7       vs.                                  DEPT. NO. Department 4

 8       Silvino Hinojosa, Defendant(s)

 9

10                         AUTOMATED CERTIFICATE OF SERVICE
11
            This automated certificate of service was generated by the Eighth Judicial District
12   Court. The foregoing Order Granting Motion was served via the court’s electronic eFile
     system to all recipients registered for e-Service on the above entitled case as listed below:
13
     Service Date: 9/7/2020
14

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